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                     EXHIBIT #1




Group 1 – Google’s Responsive Claim Construction Brief
(Civil Case Nos. 6:20-cv-00571-ADA, 6:20-cv-00578-ADA, 6:20-cv-00583-ADA, and 6:20-
cv-00584-ADA)
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                                                                                                US007 777728B2


(12) United States Patent                                                   (10) Patent No.:                    US 7,777,728 B2
       Rainist0                                                             (45) Date of Patent:                         Aug. 17, 2010
(54) MOBILE COMMUNICATION TERMINAL                                        2004/0046744    A1*     3/2004 Rafii et al. .................. 345,168
                                                                          2004/O140956    A1*     7/2004 Kushler et al. ........ ... 345,168
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                                                                          2006/0O28450    A1*     2/2006 Suraqui ............       ... 345,169
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(*) Notice:         Subject to any disclaimer, the term of this          * cited by examiner
                    patent is extended or adjusted under 35              Primary Examiner—Amr Awad
                    U.S.C. 154(b) by 1082 days.                          Assistant Examiner—John Morris
                                                                         (74) Attorney, Agent, or Firm—Alston & Bird LLP
(21) Appl. No.: 11/384,206
                                                                         (57)                      ABSTRACT
(22) Filed:         Mar 17, 2006
                                                                         It is presented a text input method for an electronic apparatus
(65)                   Prior Publication Data                            with a touch sensitive display, the apparatus comprising a user
        US 2007/0216658A1            Sep. 20, 2007                       interface, wherein a virtual keyboard is displayed on the
                                                                         display So as to facilitate input of an intended character for a
(51) Int. Cl.                                                            user by touching keys of the virtual keyboard with a pointer,
        G06F 3/04              (2006.01)                                 wherein the intended character is determined by considering:
(52) U.S. Cl. ........................ 345/173; 34.5/169; 345/168        a plurality of candidate characters, the plurality of candidate
                                                                         characters being determined with regard to a raw distance, the
(58) Field of Classification Search ................. 345/156,           raw distance being a distance between a first position, the first
                               345/168, 169, 172-174, 178, 179           position being a position of a detected touch of the pointer,
     See application file for complete search history.                   and a position corresponding to a character, and linguistic
(56)                   References Cited                                  probabilities of each character of the plurality of candidate
                                                                         characters being an intended character. A corresponding elec
                U.S. PATENT DOCUMENTS                                    tronic apparatus and computer program product are also pre
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                                  Fig 1
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                   32                                       26
       Data communications network                  Mobile tele
             (e.g. WAN, LAN)                      Communications
                                                      network




              * 44-                          28
                        sessessertei                                       Network
                                                                          eSOUCeS



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                                       Fig. 4
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                                           :                    56                       :
                                               Virtual keyboard wil: ;
                                                 intelligent char. : :
                                                     Selection      :
                                                   functionality
                                                  0 e o O & O        w   v   0 . F. V.




                              55
      (to Network {->     Network
      Resources)         interface(s)                           Controller




                           There are 19 unread posts,
                           latest posts:
                           is This is a new post...
                          on and here is another one.
                        ... or Here is number three.
                          tra and, finally, the fourth one.
                           (Sfas
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                              1.                                                                       2
      MOBILE COMMUNICATION TERMINAL                                    display So as to facilitate input of an intended character for a
                                                                       user by touching keys of the virtual keyboard with a pointer,
               FIELD OF THE INVENTION                                  wherein the intended character is determined by considering:
                                                                       a plurality of candidate characters, the plurality of candidate
   Embodiments of the present invention generally relates to 5         characters being determined with regard to a raw distance, the
electronic equipment capable of text input, and more particu           raw distance being a distance between a first position, the first
larly to a text input method for an electronic apparatus having        position being a position of a detected touch of the pointer,
a user interface with a touch sensitive display.                       and a position corresponding to a character, and linguistic
                                                                       probabilities of each character of the plurality of candidate
         BACKGROUND OF THE INVENTION                              10   characters being an intended character. This method provides
                                                                       a novel and inventive way to reduce the risk of the user
   Apparatuses with touch-sensitive display Screens often              making mistakes when using a virtual keyboard to enter text.
provide a virtual key-board feature in the user interface to              The plurality of candidate characters may be determined
facilitate text input. This works by displaying a virtual key          also with regard to a direction of movement of the pointer.
board, often resembling a real-life keyboard, on the display      15   This provides a better way to predict the intended character.
screen. By tapping with a writing tool on individual buttons or           The text input method may comprise the steps of detecting
keys of the virtual keyboard, the user may input Successive            a touch on the touch sensitive display at a first position,
characters which aggregate to a text input shown in a text             calculating a tap distance and a tap direction between the first
input field on the display Screen.                                     position and a second position, the second position being a
   Since text input with a writing tool on a touch-sensitive      20   position of a previously detected touch position, associating a
display screen by nature will be slower and more error prone           key candidate area, the candidate area having a predetermined
than manual input on a hardware (physical) keyboard, it is             spatial extent, being associated with the first position, creat
generally desired to improve the accuracy and input speed.             ing a candidate list of characters, each character in the can
One approach in this regard known in the art is the provision          didate list having at least part of its respective key area over
of word completion functionality in the user interface for        25   lapping the candidate area, for the each character in the
automatic presentation of full word candidates to what the             candidate list, determining a raw distance between a position
user has currently inputted in the form of a partial word.             corresponding to the each character and the first position,
   For instance, if the user writes “wo' by tapping on the “w”         determining a probability value for the each character in the
key and then the “o' key of the virtual keyboard, the word             candidate list, the probability value being the linguistic prob
completion functionality can predict full word candidates         30   ability of the each character, for the each character in the
such as “word”, “world' and “wormhole' and present them                candidate list, calculating a weighted distance, the weighted
on the display screen in a selectable manner. A desired one of         distance being calculated using the raw distance and the prob
these candidates may be selected by the user by tapping on it,         ability value, and determining the intended character, the
and the full word thus selected will automatically replace the         intended character being determined as the character in the
current partial word input on the display Screen.                 35   candidate list with a smallest weighted distance.
   While word completion functionality certainly has its ben              The step of determining a probability value may involve
efits, some problems are associated therewith. In more par             determining a probability value based on at least one previ
ticular, since the apparatus involved will typically be a small        ously input character. Previously input characters provide a
portable device such as a mobile terminal or a pocket com              readily available base for linguistic probabilities of new char
puter, the available display screen space will be a limited       40   acter entries.
resource. Thus, displaying multiple full word candidates any            The step of determining a probability value may involve
where in the user interface may potentially block other rel          determining a probability value based on at least one previ
evant information to be displayed (such as actual application        ously input character and an input language. Using an input
contents).                                                           language enhances the accuracy of the method, as linguistic
   Another problem with this input method is that the user is     45 probabilities for the same letter combinations differ between
dependent on what words are in the dictionary of the device.         languages.
Another problem is that the user constantly has to check what           The step of associating a candidate area with the first posi
Suggestions are provided to see if there is a matching word,         tion may involve determining the candidate area with consid
whereby the user has to concentrate partly on finding the            eration to the tap distance and the tap direction. Using the tap
correct characters with the stylus and partly on checking         50 direction allows a more controlled candidate area, resulting in
Suggested words, leading to inefficient typing. Moreover, this       a better candidate list, eliminating highly unlikely candidates.
Solution requires that dictionaries are stored locally in the           The step of associating a candidate area with the first posi
device for all input languages that need to be supported,            tion may involve determining the candidate area, the candi
which requires a significant amount of storage space.                date area being relatively longer along a first axis and rela
   Consequently, there is a need for a novel and improved         55 tively shorter along a second axis, the first axis being parallel
method for a user to efficiently input text on a device with a       to the tap direction and the second axis being perpendicular to
touch sensitive display.                                             the first axis. The candidate area may be of an elliptical or a
                                                                     teardrop shape. This improves accuracy, as there is a larger
            SUMMARY OF THE INVENTION                                 probability of missing the intended character along the tap
                                                                  60   direction.
  In view of the above, an objective of certain embodiments        In the step of for the each character in the candidate list,
of the invention is to solve or at least reduce the problems    calculating a weighted distance, the weighted distance may
discussed above.                                                be proportional to both the raw distance and the difference
   According to a first aspect of the invention there has been between the constant one and the probability value.
provided a text input method for an electronic apparatus with 65 The step of detecting a touch on the touch sensitive display
a touch sensitive display, the apparatus comprising a user at the first position may involve detecting a duration of the
interface, wherein a virtual keyboard is displayed on the touch, and the method may comprise the further step, after the
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step of determining an intended character, of conditionally                  FIG.5 is a schematic block diagram of the pocket computer
determining the intended character to be a character directly             according to the previous drawings.
corresponding to the first position, the condition comprising                FIG. 6 is a front view of the pocket computer, demonstrat
at least that the touch has a duration being longer than a                ing a typical display Screen layout of its user interface.
threshold duration. This allows the user to insist on the                    FIG. 7 illustrates a typical disposition of the display screen
intended character being the character having the activation              layout, including a home view.
area of the first position. This may be particularly useful while            FIG. 8 illustrates a display screen layout for text input into
entering passwords, web addresses, text in a language differ              a text handling application in the pocket computer.
ent from the input language, etc.                                            FIGS. 9a and 9b are display screen snapshots that illustrate
   A second aspect of the present invention is an electronic         10   the intelligent character selection functionality according to
apparatus comprising a user interface with a touch sensitive              one embodiment.
display, and a controller coupled to the display, the user
interface including a virtual keyboard which is presentable on                  DETAILED DESCRIPTION OF PREFERRED
the display so as to facilitate input of an intended character for                        EMBODIMENTS
a user by touching keys of the virtual keyboard with a pointer,      15
each key being associated with a respective key area, the user               The present invention now will be described more fully
interface including a character selection functionality for               hereinafter with reference to the accompanying drawings, in
determining an intended character, the controller being                   which certain embodiments of the invention are shown. This
adapted for determining the intended character considering: a             invention may, however, be embodied in many different
plurality of candidate characters, the plurality of candidate             forms and should not be construed as limited to the embodi
characters being based on a direction of movement of the                  ments set forth herein; rather, these embodiments are pro
pointer, and linguistic probabilities of each character of the            vided by way of example so that this disclosure will be thor
plurality of candidate characters being an intended character.            ough and complete, and will fully convey the scope of the
This electronic apparatus provides a novel and inventive way              invention to those skilled in the art. Like numbers refer to like
to reduce the risk of the user making mistakes when using a          25   elements throughout.
virtual keyboard to enter text.                                              With reference to FIGS. 1 to 3, an electronic apparatus
   The electronic apparatus may be in the form of a pocket                according to an embodiment of the present invention will now
computer. Virtual keyboards are commonly used in pocket                   be described. The pocket computer 1 of the illustrated
computers and would benefit from increased text entry accu                embodiment comprises an apparatus housing 2 and a rela
racy and speed.                                                      30   tively large touch-sensitive display screen 3 provided at a
   The electronic apparatus may be in the form of a mobile                front side 2f of the apparatus housing 2. Next to the display
terminal for a mobile telecommunications network. Virtual                 screen 3 a plurality of hardware keys 5a-d are provided, as
keyboards are commonly used in pocket computers and                       well as a speaker 6.
would benefit from increased text entry accuracy and speed.                  More particularly, key 5a is a five-way navigation key, i.e.
   A computer program product directly loadable into a               35   a key which is depressible at four different peripheral posi
memory of a processor, where the computer program product                 tions to command navigation in respective orthogonal direc
comprises program code for performing the method as                       tions (“up”, “down”, “left”, “right”) among information
defined in the first aspect when executed by the processor.               shown on the display Screen 3, as well as depressible at a
   Other objectives, features and advantages of the present               center position to command selection among information
invention will appear from the following detailed disclosure,
                                                                     40   shown on the display screen 3. Key 5b is a cancel key, key 5c
as well as from the drawings.                                             is a menu or options key, and key 5d is a home key.
                                                                             In addition, a second plurality of hardware keys 4a-care
   Generally, all terms used in the claims are to be interpreted          provided at a first short side 2u of the apparatus housing 2.
according to their ordinary meaning in the technical field,               Key 4a is a power on/off key, key 4b is an increase? decrease
unless explicitly defined otherwise herein. All references to        45   key, and key 4c is for toggling between full-screen and normal
“a/an/the element, device, component, means, step, etc. are               presentation on the display screen 3.
to be interpreted openly as referring to at least one instance of            At a second short side 21 of the apparatus housing 2.
the element, device, component, means, step, etc., unless                 opposite to said first short side 2u, there are provided an
explicitly stated otherwise. The steps of any method disclosed            earphone audio terminal 7a, a mains power terminal 7b and a
herein do not have to be performed in the exact order dis            50   wire-based data interface 7c in the form of a USB port.
closed, unless explicitly stated.                                            Being touch-sensitive, the display screen 3 will act both as
       BRIEF DESCRIPTION OF THE DRAWINGS
                                                                          a visual output device 52 and as an input device 53, both of
                                                                          which are included in a user interface 51 to a user 9 (see FIG.
                                                                          5). More specifically, as seen in FIG.1, the user 9 may operate
  Embodiments of the present invention will now be                   55   the pocket computer 1 by pointing/tapping/dragging with a
described in more detail, reference being made to the                     pointer 9c such as a stylus or pen, held in one hand 9a, on the
enclosed drawings.                                                        surface of the touch-sensitive display screen 3 and/or by
  FIG. 1 is a perspective view of an electronic apparatus                 actuating any of the hardware keys 4a-c, 5a-d (which also are
according to one embodiment, in the form of a pocket com                  included as input devices in the user interface 51) with the
puter which is shown in a typical operating position in the          60   thumb and index finger of the other hand 9b. It is to be noted
hands of a user.                                                          that a finger of the user may also be used as a pointer.
  FIGS. 2 and 3 are different perspective views of the pocket                As seen in FIG. 5, the pocket computer 1 also has a con
computer of FIG. 1.                                                       troller 50 with associated memory 54. The controller is
  FIG. 4 illustrates a computer network environment in                    responsible for the overall operation of the pocket computer 1
which the pocket computer of FIGS. 1-3 advantageously may            65   and may be implemented by any commercially available CPU
be used for providing wireless access for the user to network             (Central Processing Unit), DSP (Digital Signal Processor) or
resources and remote services.                                            any other electronic programmable logic device. The associ
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ated memory may be internal and/or external to the controller                 With reference to FIG. 7, the layout of the display screen 3
50 and may be RAM memory, ROM memory, EEPROM                               is divided into four main areas: a task navigator 60, a title area
memory, flash memory, hard disk, or any combination                        70, a status indicator area 74 and an application area 80.
thereof. The memory 54 is used for various purposes by the                    The application area 80 is used by a currently active appli
controller 50, one of them being for storing data and program              cation to present whatever information is relevant and also to
instructions for various pieces of software in the pocket com              provide user interface controls such as click buttons, scrol
puter 1. The software may include a real-time operating sys                lable list, check boxes, radio buttons, hyper links, etc., which
tem, drivers e.g. for the user interface 51, as well as various            allow the user 9 to interact with the currently active applica
applications.                                                              tion by way of the stylus 9c. One example of how a currently
                                                                      10
   At least Some of these applications may be text handling                active application, in the form of a notes application, uses the
applications 57, for instance in the form of a notes application           application area 80 in this manner is shown in FIG.8. A name
(further shown in FIGS. 8, 9a, 9b), a messaging application                or other brief description of the currently active application
(e.g. SMS, MMS, email), a contacts application, a word pro                 (e.g. the notes application) and a current file or data item (e.g.
cessing application, etc. To facilitate text input, the user inter    15   the currently open text file) is given at 72 in the title area 70
face 51 includes a virtual keyboard module 56 with intelligent             (e.g. “Notes—Report 1). In addition, by tapping in the title
character selection functionality, having the general purpose              area 70, the user 9 may access a menu structure of the cur
which has already been explained above. In addition to this,               rently active application.
the user interface may include other text input means, such as                The status indicator area 74 contains a plurality of icons 76
a handwriting input module with a handwriting recognition
engine.                                                                    that provide information about System events and status, typi
   To allow portable use, the pocket computer 1 has a                      cally not associated with any particular active application. As
rechargeable battery. The pocket computer also has at least                seen in FIG. 7, the icons 76 may include a battery charge
one interface55 for wireless access to network resources on at             indicator, a display brightness control, a Volume control as
least one digital network. More detailed examples of this are              well as icons that pertain to the network interface(s) 55 and
given in FIG. 4. Here, the pocket computer 1 may connect to
                                                                      25   the ways in which the pocket computer connects to the net
a data communications network 32 by establishing a wireless                work(s) 32, 26.
link via a network access point 30, such as a WLAN (Wireless                  The task navigator 60, title area 70 and status indicator area
Local Area Network) router. The data communications net                    74 always remain on screen at their respective locations,
work32 may be a wide area network (WAN), such as Internet                  unless full screen mode is commanded by depressing the
                                                                      30   hardware key 4c. In Such a case, the currently active applica
or some part thereof, a local area network (LAN), etc. A                   tion will use all of the display 3 and the areas 60 and 70 will
plurality of network resources 40-44 may be connected to the               thus be hidden.
data communications network.32 and are thus made available
to the user 9 through the pocket computer 1. For instance, the                The task navigator 60 has an upper portion 62 and a lower
network resources may include servers 40 with associated              35
                                                                           portion 66. The upper portion 62 contains icons 63-65 which
contents 42 such as www data, wap data, ftp data, email data,              when selected will open a task-oriented, context-specific
audio data, video data, etc. The network resources may also                menu to the right of the selected icon. The context-specific
include other end-user devices 44. Such as personal comput                 menu will contain a plurality of task-oriented menu items,
CS.                                                                        and the user 9 may navigate among these menu items and
   A second digital network 26 is shown in FIG. 4 in the form         40
                                                                           select a desired one either by the navigation key 5a or by
of a mobile telecommunications network, compliant with any                 pointing at the display screen 3. As seen in FIG. 7, the lower
available mobile telecommunications standard such as GSM,                  portion 66 represents an application Switcher panel with
UMTS, D-AMPS or CDMA2000. In the illustrated exempli                       respective icons 67 for each of a plurality of launched appli
                                                                           cations.
fying embodiment, the user 9 may access network resources
28 on the mobile telecommunications network 26 through the            45      In FIG. 8, a text handling application in the form of a notes
pocket computer 1 by establishing a wireless link 10b to a                 application is active, as indicated at 72 in the title area 70, and
mobile terminal 20, which in turn has operative access to the              has control of the application area 80 of the display screen
mobile telecommunications network 26 over a wireless link                  layout 100. The application area is divided into a text input
22 to a base station 24, as is well known perse. The wireless              field 102 and a virtual keyboard 110. Currently, there is no
links 10a, 10b may for instance be in compliance with Blue            50   text input shown in the text input field 102.
toothTM, WLAN (Wireless Local Area Network, e.g. as speci                     The virtual keyboard 110 is divided into four main groups
fied in IEEE 802.11), HomeRF, WIMAX or HIPERLAN.                           of logical keys or buttons 120, 130, 140 and 150. Each such
Thus, the interface(s) 55 will contain all the necessary hard              key has an activation area delimited by borders 153 which is
ware and software required for establishing Such links, as is              indicated as a grey box having a icon or symbol representing
readily realized by a man skilled in the art.                         55   the meaning of the key in question. In a well known manner,
   FIG. 6 shows a front view of the pocket computer and                    by pointing with the stylus 9c within the activation area, the
indicates a typical display Screen layout of its user interface.           user 9 may select the key. Alternatively or additionally, text
A typical disposition of the display Screen layout, presenting             input may be performed e.g. by handwriting with the stylus
a view of a home application (i.e., a start or base view that the          within the text input field 102.
user 9 may return to whenever he likes), is shown in more             60      If the selected key is an alphanumeric key included in a
detail in FIG. 7. In FIG. 6, the hardware keys 5a-dare shown               character key group 130 or numeric key group 140, Such as a
at their actual location to the left of the display screen 3 on the        'd key 152, the corresponding alphanumeric character will
front Surface 2f of the apparatus housing 2, whereas, for                  be directly displayed in the text input field 102, as is well
clarity reasons, the hardware keys 4a-care illustrated as being            known perse. If, on the other hand, the selected key belongs
located above the display screen 3 on the front surface 2feven        65   to a control key group 120 or 150, a corresponding function
while they actually are located at aforesaid first short side 2u           will instead be performed, such as backSpace, carriage return,
(FIG. 2).                                                                  tabulation, Switch of character set, caps lock, etc.
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   Referring now to FIGS. 9a and 9b, the virtual keyboard                 millimeters, while the distance from the new position 163 to
module 56 with its intelligent character selection functional             the center of the character p is 2.6 millimeters. Distance is
ity will be described in more detail.                                     typically measured in geometrical distance, not in pixels, as
   The intelligent character selection is based on a method for           pixels are not necessarily perfectly square.
automatically favoring likely characters in an input language                Thena weighted distance is calculated for each characterin
when entering text by means of a virtual keyboard, while still            the candidate list. The weighted distance is based on the
allowing for the input of any type of text. Both language                 actual, or raw, distance and the probability of each character.
character frequency and human hand movement patterns are                  One formula that may be used to calculate the weighted
taken into account.                                                       distance is as follows:
   To illustrate the method, an example where the user 9             10
                                                                                D=(1-p)* D.                                            (1)
wishes to input the text dove will now be described in detail.
   In FIG. 9a, the user 9 has pressed stylus 9c on the screen at             where D is the weighted distance, p is the probability and
the position 161 for the letter d’. Accordingly, in the text              D, is the raw distance. With the formula (1), the weighted
input field 102, the text 104 'd' is displayed. A cursor 107              distances D, for 'o' and p, equates to 2.520 and 2.597,
indicates the position for Subsequent text entry. To input the       15   respectively (rounded off to three decimals). The character
next letter, 'o', the user 9 then lifts and moves the stylus along        with the lowest weighted distance in the calculation will be
a path 162, and presses down the stylus at a new position 163.            initially indicated to be pressed down. Selection of this can
In the attempt to input text with a high speed, the user actually         didate is done by lifting up the stylus, as is usual. In this
misses the intended letter and the new position of the stylus is          example, when the user 9 lifts the stylus, 'o' is therefore
just on the other side of the border 153 (see FIG. 8) within the          selected as the next character, since 'o' has the Smallest
activation area associated with the letter p, which is to the             weighted distance, even though the new position is within the
right of the letter o’. This type of mistake is unfortunate, but          area for p.
easy to make in this type of text entry. With virtual keyboards              If the indicated candidate was not the character intended by
in the prior art, the letter p would have been registered,                the user 9, the user 9 can keep the stylus pressed down, for a
requiring the user 9 to recognize that the incorrect letter has      25   short delay (e.g. about 0.8 seconds), whereby the target will
been entered, and to correct the entry by erasing the incorrect           move to the exact point where the stylus is pressed down.
entry and entering the correct letter. However, in this embodi            Alternatively or additionally, the user 9 corrected selection
ment of the present invention, the intended letter, o, would              can be made by the user 9 moving the stylus/finger slightly
still be recognized.                                                      while pressing down, whereby the current position of the
  The method works as follows:                                       30   stylus/finger should be used instead of the predicted candi
  The distance and angle between the new position 163 and                 date. In other words, exact input can be performed in an input
the previous position 161 is calculated and a candidate area              style where the user 9 moves the stylus ever so slightly with
164 is calculated.                                                        each down press, for the pocket computer to consider the
  The characters that fall sufficiently inside the candidate              position by itself without considering probabilities. With
area 164 will be added to a candidate list of characters to be       35   these methods, the user 9 can still enter text where the letters
considered. Sufficiently inside can for example be that the               are not the most probable letters, which in particular may be
center position of the character is inside the candidate area             the case for passwords, web addresses, text input in a lan
164, or that a certain percentage of the character area is within         guage different from the input language, etc.
the candidate area 164. The candidate area 164 is longer along               FIG.9b illustrates how the user 9 continues to type, press
an axis of movement 162. Such as the depicted elliptical shape 40         ing the stylus at a new position 165 to type the letter v. The
of the candidate area 164, or rectangular. One shape that has             text input field 102 now shows the previously entered text
proven useful is a teardrop shape. The shape is longer along              104' ‘do’, with the cursor 107 positioned after this text 104".
the axis of movement 162 due to there being a larger prob                 This time, the new position 165 is more accurate, and with no
ability of missing the intended character along the axis of               characters within the candidate Zone 166 having a probability
movement 162. In this example, for simplicity and clarity of 45           being much higher than 'v'succeeding 'o', the letter v is
the description, only characters o' and p make up the can                 selected. The user 9 then continues in the same manner to
didate list.                                                              input 'e' to make up the intended word dove' (not shown).
   For each of the characters in the candidate list, a probability          The invention has mainly been described above with ref
that the character would appear after the previous character/             erence to a few embodiments. However, as is readily appre
phrase/part of word is retrieved from memory, such as                50   ciated by a person skilled in the art, other embodiments than
memory 54 in FIG. 5. In this example, using English, the                  those disclosed above are equally possible within the scope of
probability of an o' appearing after a 'd may for example be              the invention, as defined by the appended patent claims.
0.1, and the probability of a p’ appearing after a 'd may for               What is claimed is:
example be 0.001. The probabilities are based on language                   1. A text input method for an electronic apparatus with a
statistics, and may be based on the previous character, on two       55   touch sensitive display, wherein a virtual keyboard is dis
previously entered characters, on all previously entered char             played on said display So as to facilitate input of an intended
acters in the same word, etc. It is to be noted that the values of        character for a user by touching keys of said virtual keyboard
the probabilities mentioned here are mere illustrative                    with a pointer, wherein the method comprises:
examples. If the probability is based on one or two previous                detecting a touch of a first key on the touch sensitive dis
characters, this requires significantly less data to be stored in    60        play at a first position;
memory 54 than if a full dictionary would have to be stored.                defining a candidate area that has a configuration that is
Consequently, the pocket computer 1 may support many                           dependent upon a tap direction that extends between the
more languages in a specific amount of memory.                                 first position and a second position, wherein the second
   Furthermore, for each character in the candidate list, the                  position is a position of a previously detected touch of a
distance from the current stylus position and the centerpoint        65        second key of the touch sensitive display, and wherein
of the character is determined. In this example, the distance                  said candidate area being relatively longer along a first
from the new position 163 to the center of character 'o' is 2.8                axis and relatively shorter along a second axis, said first
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                                                       US 7,777,728 B2
                                                                                                         10
     axis being parallel to said tap direction and said second           which is presentable on said display so as to facilitate input of
     axis being perpendicular to said first axis; and                    an intended character for a user by touching keys of said
  determining said intended character by considering:                    virtual keyboard with a pointer, each key being associated
     a plurality of candidate characters disposed at least par           with a respective key area, said user interface including a
        tially within the candidate area, said plurality of can          character selection functionality for determining an intended
        didate characters being determined with regard to a              character, said controller being configured to:
        raw distance, said raw distance being a distance                    detect a touch on a first key of the touch sensitive display at
        between said first position and a position correspond                  a first position;
        ing to a character, and                                             define a candidate area that has a configuration that is
     linguistic probabilities of each character of said plurality   10         dependent upon a tap direction that extends between the
        of candidate characters being an intended character.                   first position and a second position, wherein the second
  2. The text input method according to claim 1, wherein                       position is a position of a previously detected touch of a
each key is associated with a respective key area, said method                 second key of the touch sensitive display and wherein
comprising:                                                                    said candidate area being relatively longer along a first
  calculating a tap distance and the tap direction between          15         axis and relatively shorter along a second axis, said first
     said first position and a second position,                                axis being parallel to said tap direction and said second
  associating a candidate area with said first position, the                   axis being perpendicular to said first axis; and
     candidate area having a predetermined spatial extent,                  determine said intended character by considering:
  creating a candidate list of characters, each character in                   a plurality of candidate characters disposed at least par
     said candidate list having at least part of its respective                   tially within the candidate area, said plurality of can
     key area overlapping at least part of said candidate area,                   didate characters being determined with regard to a
  for said each character in said candidate list, determining                     raw distance, said raw distance being a distance
     said raw distance between a position corresponding to                        between said first position and a position correspond
     said each character and said first position,                                 ing to a character, and
  determining a probability value p for said each character in      25         linguistic probabilities of each character of said plurality
     said candidate list, said probability value being said                       of candidate characters being an intended character.
     linguistic probability of said each character,                         12. The electronic apparatus according to claim 11, in the
  for said each character in said candidate list, calculating a          form of a pocket computer.
     weighted distance, said weighted distance being calcu                  13. The electronic apparatus according to claim 11, in the
     lated using said raw distance and said probability value,           form of a mobile terminal for a mobile telecommunications
     and                                                            30
                                                                         network.
   determining said intended character, said intended charac
      ter being determined as the character in said candidate              14. An apparatus comprising a memory of a processor and
      list with a smallest weighted distance.                            program code stored in the memory and configured to per
   3. The method according to claim 2, wherein said step of              form the method as defined in claim 1 when executed by said
determining a probability value involves determining a prob         35   processor.
ability value based on at least one previously input character.             15. The electronic apparatus according to claim 11,
   4. The method according to claim 2, wherein said step of              wherein said candidate area is an elliptical shape or a teardrop
determining a probability value involves determining a prob              shape.
ability value based on at least one previously input character              16. An apparatus comprising a controller and a memory
and an input language.                                              40   storing executable instructions that in response to execution
   5. The method according to claim 2, wherein said step of              by the controller cause the apparatus to at least perform the
associating a candidate area with said first position involves           following:
determining said candidate area with consideration to said tap             detect a touch of a first key on a touch sensitive display at
distance and said tap direction.                                              a first position;
   6. The method according to claim 2, wherein said step of         45     define a candidate area that has a configuration that is
associating a candidate area with said first position involves                dependent upon a tap direction that extends between the
determining said candidate area.                                              first position and a second position, wherein the second
   7. The method according to claim 1, wherein said candidate                 position is a position of a previously detected touch of a
area is of an elliptical shape.                                                second key of the touch sensitive display and wherein
   8. The method according to claim 1, wherein said candidate       50         said candidate area being relatively longer along a first
area is of a teardrop shape.                                                  axis and relatively shorter along a second axis, said first
   9. The method according to claim 2, wherein said step of                   axis being parallel to said tap direction and said second
for said each character in said candidate list, calculating a                 axis being perpendicular to said first axis; and
weighted distance, said weighted distance is proportional to               determine said intended character by considering:
both said raw distance and (1-p).                                   55
                                                                              a plurality of candidate characters disposed at least par
   10. The method according to claim 2, wherein said step of                     tially within the candidate area, said plurality of can
detecting a touch on said touch sensitive display at said first                  didate characters being determined with regard to a
position involves detecting a duration of said touch,                            raw distance, said raw distance being a distance
   and said method comprises the further step, after said step                   between said first position and a position correspond
      of determining an intended character, of:                     60           ing to a character, and
   conditionally determining said intended character to be a                  linguistic probabilities of each character of said plurality
      character directly corresponding to said first position,                   of candidate characters being an intended character.
      said condition comprising at least that said touch has a              17. The electronic apparatus according to claim 16,
      duration being longer than a threshold duration.                   wherein said candidate area is an elliptical shape or a teardrop
   11. An electronic apparatus comprising a user interface          65
                                                                         shape.
with a touch sensitive display, and a controller coupled to said
display, said user interface including a virtual keyboard
